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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                     Case No. 2:12-cr-36-03
                                                       HON. R. ALLAN EDGAR
Justin Carl Saari,
                                      /

                          ORDER APPROVING AND ADOPTING
                           REPORT AND RECOMMENDATION


       The Court has reviewed the Report and Recommendation filed by the United

States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objections have been filed thereto within the time required

by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and recommendation of the Magistrate filed 5/1/2013 #62, is

approved and adopted as the Opinion and Findings of this Court.

       2. Defendant Justin Carl Saari’s plea of guilty to Conspiracy to Manufacture,

Distribution and Possession with Intent to Distribute Methamphetamine is accepted.

Defendant Justin Carl Saari is adjudicated guilty.

       3. A decision of whether to accept the written plea agreement will be made at the

time of sentencing after the Court has had the opportunity to review the Pre-sentence

Investigation Report. See U.S.S.G. Ch. 6.

       SO ORDERED.

       Dated: 5/21/2013

                                                       /s/ R. Allan Edgar
                                                          R. ALLAN EDGAR
                                                 UNITED STATES DISTRICT JUDGE
